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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                     Plaintiffs,
      v.                                     5:21-cv-844-XR

THE STATE OF TEXAS,

                           Defendants.
OCA-GREATER HOUSTON, et al.,
                    Plaintiffs,
      v.                                     1:21-cv-0780-XR

JOHN SCOTT,

                           Defendants.
HOUSTON AREA URBAN LEAGUE, et al.,
                    Plaintiffs,
     v.                                      5:21-cv-0848-XR

GREG ABBOTT, et al.,

                           Defendants.
LULAC TEXAS, et al.,
                           Plaintiffs,
       v.                                    1:21-cv-0786-XR

JOHN SCOTT, et al.,

                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,
       v.                                    5 :21-cv-0920-XR

GREG ABBOTT, et al.,

                           Defendants.
          Case 5:21-cv-00844-XR Document 432-1 Filed 06/03/22 Page 2 of 2




         [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW APPEARANCE
                              OF COUNSEL

                Upon consideration of the Motion to Withdraw as Counsel of Record for

Defendant Isabel Longoria, in her Official Capacity as Harris County Elections Administrator,

and the Court’s consideration of said Motion, it is hereby:

         ORDERED that the Motion to Withdraw as Counsel of Record for Isabel Longoria, in

her Official Capacity as Harris County Elections Administrator by hereby, GRANTED. The

appearance of Christina M. Beeler for Defendant Isabel Longoria, in her Official Capacity as

Harris County Elections Administrator is withdrawn and shall be removed from all service lists

pertaining to this action.


Dated:
                                             XAVIER RODRIGUEZ
                                             UNITED STATES DISTRICT JUDGE
